         Case 1:21-cr-00599-RBW Document 93 Filed 04/10/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                                              :
v.                                            :               Case No. 21-CR-599 (RBW)

                                              :
DONNIE DUANE WREN,                            :
THOMAS HARLEN SMITH                           :
                                              :
Defendants.                                   :



                       NOTICE OF APPEARANCE AS CO-COUNSEL

Please take notice that Dylan George Barket of the law firm of Barket Lawyers P.A., will be
representing Defendant Donnie Duane Wren as co-counsel for trial purposes with George Pallas
of George T. Pallas P.A. Dylan G. Barket requests that he be included on the service of all notices,
pleadings, and other documents filed in this case at the following address:

                                     BARKET LAWYERS
                                  66. W. FLAGLER STREET
                            7TH FLOOR – CONCORDE BUILDING
                                  MIAMI, FLORIDA, 33130
                             DYLAN@BARKETLAWYERS.COM
                           PLEADINGS@BARKETLAWYERS.COM
                                    TELE: (305) 373-6711
                                     FAX: (305) 373-4770

                                 CERTIFICATE OF SERVICE

I certify that on this 10th day of April 2023, I electronically filed the foregoing with the Clerk of
the Court using CM/ECF system which will send notification of such filing.




                                     Respectfully Submitted,

                                     /s/Dylan G. Barket, Esq.
                                  Florida Bar Number: 1026381
                                  DC DISTRICT ID: FL00128
